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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §            Case No: 2:15-cv-01877-JRG-RSP
                                     §
 vs.                                 §            LEAD CASE
                                     §
 AMERICAN HONDA MOTOR CO, INC. §
                                     §
       Defendant.                    §
 ___________________________________ §
                                     §
 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
.                                    §
       Plaintiff,                    §            Case No: 2:15-cv-01878-JRG-RSP
                                     §
 vs.                                 §            CONSOLIDATED CASE
                                     §
 HYUNDAI MOTOR AMERICA               §
                                     §
       Defendants.                   §
 ___________________________________ §


                                          ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Hyundai Motor
America. It is therefore ORDERED that all claims by and between parties are hereby DISMISSED
      SIGNED thiswith
WITH PREJUDICE,   3rd each
                      day of January,
                           party to bear2012.
                                         its own costs, expenses and attorneys’ fees.
       SIGNED this 19th day of August, 2016.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE
